Case 2:04-Cv-02482-.]PI\/|-tmp Document 10 Filed 05/10/05 Page 1 of 2 Page|D 25

 

 

 

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UNITED STATES DISTRICT COURT §3§! §§§§ 33 933 3 33
WESTERN DIsTRICT 0F TENNESSEE § _ §§
WESTERN DIVISION 565
JO CUNNINGHAM JU'DGMENT IN A CIVIL CASE
VS
U.S. FOODSERVICE, INC. CASE NO: 04-2482 Ml/P

 

The parties having settled this matter:

IT IS SO ORDERED AND ADJUDGED that, in accordance With the Order cf
Dismissal With Prejudice filed May E§, 2005, this case is
DISMISSED With prejudice with each party to bear its Own costs and
fees.

APPROVED: _
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‘» f
b 1
JO PHIPPS MCCALLA
ITED STATES DISTRICT COUR'I`

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Da§e , Clerk cf Court

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02482 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

